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                                                    U. ° . DISTRICT COURT
                                                    Southern District of Ga.
                                                         Filed in Office
              IN THE UNITED STATES DISTRICT COURT FOR                   M
                   THE SOUTHERN DISTRICT OF GEOEGIk
                           SAVANNAH DIVISION
                                                          Dupu y lark
UNITED STATES OF AMERICA

                                          CASE NO. CR410--160

HEZEKIAH MURDOCK,

     Defendant.


                               ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 313), to which objections have been filed

(Doc. 319). After a careful de novo review, the Court concurs

with the Magistrate Judge's Report and Recommendation and, for

the reasons stated below, finds Defendant Murdock's objections

to be without merit. The Report and Recommendation is ADOPTED

AS SUPPLEMENTED and is the Court's opinion in this case.

Accordingly, Defendants Oliver (Doc. 198) and Murdock's (Doc.

227) motions challenging the validity of the wiretap and

Defendant Murdock's motion to suppress (Doc. 228) are DENIED.'

The two topics of Defendant's 2 objections are addressed

individually, as follows.




1    This order necessarily affects Defendant Harrison's oral
adoption of Defendant Murdock's wiretap challenge in the same
manner.
2 No other Defendants filed objections to the Report and
Recommendation.     Accordingly, "Defendant" refers only to
Defendant Murdock for the remainder of this order.
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     First, Defendant's objections concerning the wiretap

evidence are unconvincing. Defendant continues to improperly

focus on the investigation of his own conduct while ignoring the

larger inquiry into the alleged conspiracy as a whole. The

Court again explicitly finds that Special Agent Sarhatt's forty-

seven page affidavit (Doc. 227, Attach. 1) is sufficient to

satisfy the statutory requirements for a wiretap. That

affidavit outlines the years of investigative background,

describes individuals whose conversations would likely be

intercepted, summarizes prior non-wiretap phone surveillance,

and details the need for wiretapping of conversations. (Id.)

Importantly, the affidavit also discusses the actual or

contemplated use of seven other investigative methods and

analyzes why each were actually or expected to be unsuccessful.

(Id. at 41-46.) Contrary to Defendant's contentions, this is

not a "boilerplate" affidavit. See United States v. Weber, 808

F.2d 1422, 1424 (11th Cir. 1987) (affirming refusal to suppress

evidence where an agent "had used numerous other ordinary

surveillance techniques and the district court made specific

findings that other investigative techniques had been

exhausted") . Including more than mere general declarations and

conclusory statements, this affidavit instead incorporates

detailed facts and supporting conclusions that satisfy the

predicates of 18 U.S.C. S 2518(c).
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    Defendant argues that the Government failed to sufficiently

establish the necessity for a wiretap because the application

affidavit contains many of the same paragraphs used in a prior

case. Other courts examining this issue disagree:

    Defendant has randomly quoted portions of the
    affidavits in arguing the affidavits contain
    boilerplate statements applicable to the vast
    majority, if not all, drug conspiracies.
    Unsurprisingly, however, many drug conspiracies
    share similar characteristics and their
    investigation presents similar difficulties for law
    enforcement. Generalities alone are insufficient to
    support a wiretap application. But generalities can
    be made so long as they are accompanied by specific
    information about how these generalities apply to
    the    particular      suspects     and/or     particular
    investigation.      To  the  extent  the   Government's
    affidavit    contains     some    generalities,     these
    generalities    are     accompanied     by    information
    pertinent to this investigation.

United States v. Martinez, 230 Fed. App'x 808, 814 (10th Cir.

2007) (unpublished) (internal quotations and citations omitted);

see, e.g., United States v. Chiprez, 339 Fed. App'x 696, 699

(9th Cir. 2009)       (unpublished)       ("We reject the defendants'

characterization of this detailed affidavit as

'boilerplate.' "); United States v. Sierra-Penaloza, 312 Fed.

App'x 869, 870 (9th Cir. 2009) (unpublished) ("Assuming without

deciding that some of the affidavit's statements are 'boiler

plate,' read as a whole, the affidavit is still adequately

supported by case-specific observations and the agent's personal

experience."); United States v. Salazar, 40 Fed. App'x 476, 477


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(9th Cir. 2002)      (unpublished)       ("In light of the specific,

tailored discussion of the necessity justifying a

wiretap . . . , any inclusion of boilerplate language in the

affidavit was immaterial."); United States v. Godsey, 2010 U.S.

Dist. LEXIS 136240,       at *6*7         (N.D. Ohio Dec.     14,      2010)

(unpublished) ("Without question, the reasons for using

electronic surveillance are often similar from case to case.

There are only so many ways someone can say, 'we have not

learned enough from informants, etc.' But that does not mean

that an affidavit fails to show need merely because like

allegations appear in similar cases."). As the Eleventh Circuit

has rioted, an affidavit accompanying a wiretap request need not

comprehensively exhaust all possible investigative techniques

and can instead "simply explain the retroactive or prospective

failure of several investigative techniques that reasonably

suggest themselves." United States v. Van Horn, 789 F.2d 1492,

1496 (11th Cir. 1986)

     The affidavit in this case establishes the Government's

required showing of necessity because of the statements

contained in the "Alternative Investigative Techniques" portion

of the affidavit, the background information provided therein,

and the larger context of the affidavit as a whole. Other

courts have accepted general language as sufficient when other



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portions of the affidavit are properly detailed, as is the case

here. One court stated,

    To be sure, these sections of the affidavits are
    framed in conclusory terminology, but they cannot
    rationally be separated from the preceding detailed
    descriptions of the investigative events. Applications
    are not to be read in a piecemeal fashion, and viewed
    as a whole the requests here delineated the reasons—
    which we deem ample—why other investigative techniques
    either had failed or would not be feasible. The
    Government had conducted a multifaceted five-year
    investigation and still was unable to secure the
    evidence necessary to prosecute many of the principals
    of the gambling operation. This, then, is not a
    situation in which the Government sought to employ
    wiretapping as a routine investigative tool; neither
    is it a case in which the Government relied simply on
    the insufficiency of alternative procedures in
    gambling prosecutions in general . . . . Instead,
    after scrutinizing the numbers activity over a long
    period of time by conventional techniques, the
    Government not unreasonably believed it needed to
    utilize electronic surveillance to gain enough
    intelligence about the nature and the scope of the
    operation. In short, exposure of [the] entire
    operation required different and more sophisticated
    techniques. The applications adequately set forth the
    basis for concluding that normal investigative
    procedures had been exhausted or would be unlikely to
    produce essential evidence, and the District Court
    correctly held that the statutory requirement had been
    satisfied.

United States v. Williams, 580 F.2d 578, 589-90 (D.C. Cir. 1978)

(alteration in original) (internal citations and quotations

omitted), cert. denied sub nom., Lincoln v. United States, 439

U.S. 832 (1978) . Likewise, other courts have viewed the

affidavit as a whole and do not consider the various sections as

independent of each other. See United States v. Cantu, 625 F.


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Supp. 656, 674 (N.D. Fla. 1985) ("Consequently, and in view of

all the information supplied in the affidavit, the defendants'

challenge to the wiretap on the issue of alternative

investigative techniques fails.") . For these and other reasons

outlined in the Report and Recommendation, the necessity

requirement of 18 U.S.C. §2518(c) has been satisfied.

     Finally, Defendant's objections to the search warrant

portion of the report and recommendation argues insufficient

probable cause, lack of particularity, and overly-broad search

warrant scope. After careful consideration, these objections

are without merit. Accordingly, the report and recommendation

is ADOPTED AS SUPPLEMENTED and is the Court's opinion in this

case. Defendants Oliver (Doc. 198) and Murdock's (Doc. 227)

motions challenging the validity of the wiretap and Defendant

Murdock's motion to suppress (Doc. 228) are DENIED.
                         1,'
     SO ORDERED this           day of January 2011.




                                   WILLIAM T. MOORE, JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
